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 8
 9
10
                         UNITED STATES DISTRICT COURT
11
                        CENTRAL DISTRICT OF CALIFORNIA
12
                                    WESTERN DIVISION
13
14
     CARLOS ANTHONY                      No. 22-cv-07535-FWS-AS
15   HAWTHORNE,
16                    Petitioner,        PETITIONER'S OPPOSITION TO
                                         RESPONDENT'S MOTION TO DISMISS
17              v.                       AND MOTION TO STAY AND ABEY THE
                                         FEDERAL PROCEEDINGS PENDING
18   RAYBON JOHNSON, Warden,             EXHAUSTION; DECLARATION OF
     of California State Prison,         COUNSEL
19   Los Angeles County
                                         The Honorable Alka Sagar
20                    Respondent.        United States Magistrate Judge
                                         Courtroom 540
21
                                         HEARING DATE: JULY 27, 2023
22                                       HEARING TIME: 10:00 A.M.
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 1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that Petitioner Carlos Anthony Hawthorne hereby
 3   opposes Respondent’s Motion to Dismiss and moves to stay his habeas corpus action
 4   pending the resolution of a state exhaustion petition pursuant to Rhines v. Weber, 544
 5   U.S. 269 (2005), and the Court’s inherent authority to stay proceedings. The stay is
 6   warranted because: it is within this Court’s discretion as Hawthorne satisfies each of
 7   the Rhines factors supporting a stay; it is necessary to protect Hawthorne’s interests in
 8   obtaining federal review of all of his constitutional claims; and a stay serves the
 9   interests of judicial economy, comity, and federalism.
10         Pursuant to L.R. 7-3, counsel conferred via email about the motion to stay and
11   counsel for Petitioner is informed that while counsel for Respondent could not
12   definitively state whether Respondent would file an opposition, her office often
13   opposes such motions. (M. Petersen Decl. ¶ 2.)
14         This motion is based on the accompanying memorandum of points and
15   authorities and the declaration of counsel Michael Petersen, as well as on the federal
16   habeas corpus petition filed on October 17, 2022 (“Petition”) and its attachments,
17   which are incorporated into this motion, the Court’s files and records and any further
18   evidence and argument that may be ordered by the Court.
19                                           Respectfully submitted,
20
                                             CUAUHTEMOC ORTEGA
21                                           Federal Public Defender
22   DATED: June 12, 2023                By /s/ Michael Petersen
23                                         MICHAEL PETERSEN
                                           LAUREN COLLINS
24                                         Deputy Federal Public Defenders
                                           Attorneys for Petitioner
25                                         CARLOS ANTHONY HAWTHORNE

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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2                                    I. INTRODUCTION
 3          In his federal petition for writ of habeas corpus (Dkt. 1), Carlos Anthony
 4   Hawthorne has alleged that his convictions for robbery, burglary, attempted murder,
 5   and murder were obtained in violation of his constitutional rights. Hawthorne was
 6   initially sentenced to death, but that sentence was overturned following his successful
 7   presentation, on state habeas, of an ineffective assistance of counsel claim as to the
 8   penalty phase of his trial. Now, Hawthorne seeks federal review of his other
 9   constitutional claims. His federal petition includes fourteen claims, the majority of
10   which were properly exhausted in state court. The parties agree that four of those
11   claims—Claims 11, 12, 13, and part of 14—were presented for the first time in federal
12   court. Before this court can consider them, they must first be presented to the California
13   state court.
14          Respondent moved to dismiss Hawthorne’s petition “unless [Claims 11, 12, 13,
15   and part of 14] are deleted, or a stay is obtained.” (MTD, Dkt. 16 at 9.) By this motion,
16   Hawthorne now seeks a stay of this federal proceeding so that he may present the
17   unexhausted claims to the state court. Staying the federal case so that Claims Eleven,
18   Twelve, Thirteen, and Fourteen can be presented in state court would promote judicial
19   efficiency and would eliminate the basis for the Motion to Dismiss.
20                              II. PROCEDURAL HISTORY
21   A.     State Court
22          Hawthorne was convicted on July 25, 1997 of murder (P.C. § 187), attempted
23   murder (P.C. §§ 187(a) and 664), robbery (P.C. § 211), and burglary (§ 459) along with
24   special circumstances of robbery murder (P.C. § 190.2(a)(17)(A)) and burglary murder
25   (§ 190.2(a)(17)(G)). On September 5, 1997, he was sentenced to death on the murder
26   count, and sentences for all other counts were stayed.
27          On April 23, 2009, the California Supreme Court affirmed Hawthorne’s
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 1   conviction on direct appeal. People v. Hawthorne, 46 Cal. 4th 67 (Cal. 2009).
 2          Hawthorne filed an initial habeas corpus petition in the California Supreme Court
 3   on October 7, 2009 and filed an amended petition on April 22, 2013. (California
 4   Supreme Court Case No. S176951). On May 16, 2018, the California Supreme Court
 5   issued an order to show cause as to Hawthorne’s claim of ineffective assistance of
 6   counsel during the penalty phase of the trial. On October 22, 2021, the District
 7   Attorney filed an Amended Notice of Declination to Show Cause, and the Superior
 8   Court granted the writ and sentenced Hawthorne to life without the possibility of parole
 9   on November 4, 2021.
10          For purposes of AEDPA’s statute of limitations, Hawthorne’s conviction became
11   final 60 days after that November 4, 2021 resentencing date, on January 3, 2022. See 28
12   U.S.C. § 2244(d)(1)(A) (judgment becomes final either “by the conclusion of direct
13   review or the expiration of the time for seeking such review”); see also Cal. R. Ct.
14   8.308(a) (“a notice of appeal ... must be filed within 60 days after the rendition of the
15   judgment....”); Mendoza v. Carey, 449 F.3d 1065, 1067 (9th Cir. 2006) (where
16   petitioner did not appeal, “his conviction became final ... 60 days after the judgment of
17   conviction”).
18   B.     Federal Court.
19          Hawthorne filed his federal habeas petition on October 17, 2022. (Dkt. 1.) As
20   this was over two months before his January 3, 2023 AEDPA filing deadline, the
21   petition was timely filed. Hawthorne requests a Rhines stay, in part, to preserve that
22   timely filing date in Federal Court.
23          The instant federal petition was filed, pro se, on October 17, 2022. The office of
24   the Federal Public Defender was appointed to represent Hawthorne on January 10,
25   2023. (Dkt. 9.) On January 24, 2023 the Court ordered a response to the Petition. (Dkt.
26   13.)
27          On March 10, 2023, Respondent filed a Motion to Dismiss alleging that Claims
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 1   Eleven, Twelve, Thirteen, and a portion of Fourteen are unexhausted. (Dkt. 16.) On
 2   March 13, 2023, the Court ordered Petitioner to respond to the Motion to Dismiss, and
 3   to lodge with the Court any records not already lodged that may be relevant to the
 4   Court’s determination of that motion. (Dkt. 18.)
 5                                       III. ARGUMENT
 6   A.    Legal Standards
 7         Pursuant to AEDPA 1 and well-established United States Supreme Court law—as
 8   well as basic principles of comity and federalism—the state courts are to be given the
 9   first opportunity to review and decide habeas claims of a state inmate. See, e.g., Cullen
10   v. Pinholster, 563 U.S. 170, 185 (2011) (reiterating AEDPA’s “goal of promoting
11   comity, finality, and federalism by giving state courts the first opportunity to review a
12   claim, and to correct any constitutional violation in the first instance”) (internal
13   citations and punctuation omitted).
14         To serve those interests, the Supreme Court in Rhines held that a district court
15   has the authority to stay a federal habeas action pending exhaustion of claims in the
16   state court. Rhines, 544 U.S. at 276; King v. Ryan, 564 F.3d 1133, 1141 (9th Cir. 2009).
17   Rhines recognized that “the interplay between AEDPA’s 1-year statute of limitations
18   and Lundy’s dismissal requirement” creates a problem: “petitioners who come to
19   federal court with ‘mixed’ petitions run the risk of forever losing their opportunity for
20   any federal review of their unexhausted claims.” Rhines, 544 U.S. at 275 (citing Rose v.
21   Lundy, 455 U.S. 509 (1982) (previously requiring dismissal of petitions that include
22   unexhausted claims)). The Court therefore authorized a “stay and abey” procedure in
23   which the district court holds a habeas action in abeyance while the petitioner presents
24   his unexhausted claims to the state court. Id. at 276. If the petitioner is denied relief in
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            The “Antiterrorism and Effective Death Penalty Act of 1996,” 110 Stat. 1214
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     (28 U.S.C. §§ 2241 et seq.).
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 1   state court, the district court then lifts the stay and the federal habeas action resumes.
 2   Id. at 275-76. This procedure preserves the inherent and longstanding authority of
 3   district courts to issue stays, while at the same time complying with the purposes and
 4   time limitations of AEDPA. Id. at 276. In Rhines, the Supreme Court stated that, in a
 5   capital habeas case, “it likely would be an abuse of discretion for a district court to
 6   deny a stay” if the petition meets the standards for one. Rhines, 544 U.S. at 271, 278.
 7         Under Rhines, a stay is warranted where a petitioner demonstrates (1) “good
 8   cause for his failure to exhaust,” (2) “his unexhausted claims are potentially
 9   meritorious,” and (3) he has not “engaged in intentionally dilatory litigation tactics.” Id.
10   at 278.
11         To show good cause, a petitioner need not demonstrate “extraordinary
12   circumstances.” See Jackson v. Roe, 425 F.3d 654, 661-62 (9th Cir. 2005); Wooten v.
13   Kirkland, 540 F.3d 1019, 1023-24 (9th Cir. 2008). Instead, the petitioner need only
14   proffer “a legitimate reason for failing to exhaust a claim in state court.” Blake v.
15   Baker, 745 F.3d 977, 982 (9th Cir. 2014) (concluding that a capital habeas petitioner
16   “sufficiently set forth good cause in his motion for a stay and abeyance in his federal
17   petition, which he incorporated into his motion”).
18         To satisfy Rhines’s second requirement that the petitioner’s claims be
19   “potentially meritorious,” a petitioner need only show that “at least one of his
20   unexhausted claims is not ‘plainly meritless.’” Dixon v. Baker, 847 F.3d 714, 722 (9th
21   Cir. 2017) (citing Rhines, 544 U.S. at 277). This is a low bar. To show an unexhausted
22   claim is not “plainly meritless,” a petitioner need only show it is not “‘perfectly clear
23   that the petitioner has no hope of prevailing.’” Id. (quoting Cassett v. Stewart, 406 F.3d
24   614, 624 (9th Cir. 2005)). Whether a claim might be procedurally defaulted is not
25   relevant to this inquiry. Wright v. LeGrand, 2014 WL 3428487, at *10 (D. Nev. June 9,
26   2014) (“‘[M]eritless’ does not mean ‘procedurally barred.’”) (internal citation omitted).
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 1         The third Rhines requirement addresses whether the petitioner has engaged in
 2   intentionally dilatory litigation practices. Rhines, 544 U.S. at 278. As the Rhines court
 3   noted, “generally, a prisoner’s ‘principal interest … is in obtaining speedy federal relief
 4   on his claims,’” but did note that a capital defendant, for example, “might deliberately
 5   engage in dilatory tactics to prolong their incarceration and avoid execution”. Id. at
 6   277-278.
 7         “If a stay is warranted with respect to any single claim, the court need not
 8   conduct a claim-by-claim exhaustion analysis regarding the remaining claims.”
 9   Melendez v. Arnold, 2016 WL 913388, at *8 (N.D. Cal. Mar. 10, 2016) (citing Byford
10   v. Baker, 2013 WL 431340, at *2 (D. Nev. Feb. 1, 2013)).
11   B.    Hawthorne meets the standard required for the issuance of a Rhines
12         stay.
13         1.      Hawthorne can establish good cause for failure to exhaust.
14         Hawthorne failed to exhaust Claims Eleven, Twelve, and a portion of Fourteen
15   due to the ineffective assistance of post-conviction counsel, and failed to exhaust Claim
16   Thirteen because it arose at a time when he was no longer represented.
17         The Rhines Court did not define “good cause” for failure to exhaust. Rhines, 544
18   U.S. at 278. However, in his concurrence, Justice Stevens cautioned that this
19   requirement was not intended to impose a “strict and inflexible requirement” on
20   petitioners. Id. at 277, 279 (Stevens, J., concurring). The Ninth Circuit has repeatedly
21   stated that “extraordinary circumstances” need not be shown in order to meet the good
22   cause standard. See, e.g., Jackson v. Roe, 425 F.3d 654, 661-62 (9th Cir. 2005);
23   Wooten, 540 F.3d at 1023-24 (citing Jackson, 425 F.3d at 661-62); see Blake, 745 F.3d
24   at 982 (stating that good cause was the “equitable component” of the analysis, and that
25   it can be shown with a “reasonable excuse, supported by sufficient evidence”).
26         The Ninth Circuit has held that ineffective assistance of state habeas counsel in
27   failing to present a claim constitutes good cause for a petitioner’s failure to exhaust.
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 1   Blake, 745 F.3d at 983-84. A petitioner arguing good cause based on his state habeas
 2   counsel’s ineffectiveness is “not required to make any stronger a showing of cause
 3   than” that required by Martinez v. Ryan, 566 U.S. 1 (2012). Blake, 745 F.3d at 983-84
 4   (citing Detrich v. Ryan, 740 F.3d 1237, 1243-45 (9th Cir. 2013) (en banc)). 2 To
 5   establish “cause” under Martinez, a petitioner “need show only that his [postconviction]
 6   counsel performed in a deficient manner” under the standard set forth in Strickland v.
 7   Washington, 466 U.S. 668 (1984). Detrich, 740 F.3d at 1245. Thus, a petitioner
 8   asserting that his postconviction counsel performed deficiently must present “evidence
 9   that his state post-conviction counsel failed to discover, investigate, and present to the
10   state courts the readily available evidence” underlying his unexhausted claims. Blake,
11   745 F.3d at 983. A petitioner seeking to establish “cause” under Martinez must also
12   make a limited showing of prejudice: the petitioner must show that the claim his state
13   habeas counsel failed to raise is “substantial” or has “some merit.” Detrich, 740 F.3d at
14   1245-46; see also Blake, 745 F.3d at 984 (citing Detrich’s legal standard). For a claim
15   to be “substantial,” a petitioner need only make the same showing he would need to
16   warrant issuance of a certificate of appealability—namely, “that reasonable jurists
17   could debate whether (or, for that matter, agree that) the petition should have been
18   resolved in a different manner or that the issues presented were adequate to deserve
19   encouragement to proceed further.” Detrich, 740 F.3d at 1245. Furthermore, the
20   Martinez court recognized the difficulty of bringing a habeas corpus petition without
21   counsel. Martinez, 566 U.S. at 12.
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            In fact, a “lesser showing” may even “suffice to show good cause under
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     Rhines.” Blake, 745 F.3d at 984 n.7.
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 1                a.     The legal basis for Claim 13 did not arise until after
 2                       Hawthorne’s resentencing hearing, when he no longer had
 3                       post-conviction counsel.
 4         Claim 13 alleges that the imposition of a $10,000 fine is improper, as Hawthorne
 5   already paid $10,000 under the prior judgment, and the claim is premised on the
 6   Abstract of Judgment filed on December 15, 2021. (Attachment 1 to Dkt. 1.) This new
 7   abstract was created after the November 4, 2021 resentencing hearing, in which
 8   Hawthorne was resentenced from a sentence of death to a sentence of life-without-the-
 9   possibility-of-parole. That abstract also stated that Hawthorne was to pay $10,000 in
10   restitution, even though Hawthorne had already paid, in full, the $10,000 in restitution
11   that was imposed at his original sentencing.
12         Hawthorne was represented by the Habeas Corpus Resource Center (HCRC)
13   throughout his state habeas proceedings. The “general powers and duties” of HCRC are
14   specified in California Government Code section 68661. This section expressly limits
15   HCRC’s representation to people “sentenced to death.” (Gov. Code § 68661.)
16         Following the November 4, 2021 resentencing hearing, Hawthorne was no
17   longer sentenced to death. It is unclear if HCRC would have been permitted, by law, to
18   take the action required to rectify the restitution issue. Either way, Hawthorne’s failure
19   to raise the issue is excusable. He was either without counsel entirely, or his counsel
20   was ineffective for failing to raise the issue.
21         Since the conclusion of the resentencing hearing, until the appointment of the
22   Federal Public Defender’s office in federal habeas, Hawthorne had been without
23   counsel. In addition, as outlined in Claim One of his federal petition (Dkt. 1),
24   Hawthorne has multiple severe mental impairments. This lack of counsel, coupled with
25   Hawthorne’s own inability to advocate for himself in state court, constitutes good cause
26   for his failure to exhaust Claim 13 in state court. See Berry v. Jacquez, 2011 WL
27   4738336, at *5 (E.D. Cal. 2011) (citing Taylor v. McDaniel, 2011 WL 1322783, at *2
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 1   (D. Nev. 2011)); see also Howard v. Martel, No. 2:11-cv-0991 JAM CKD P, 2012 WL
 2   4469265, at *4 (E.D. Cal. 2012) (finding good cause for a Rhines stay where petitioner
 3   attached a psychological evaluation stating that he suffered from various mental
 4   disorders).
 5                 b.    Ineffective assistance of post-conviction counsel is good
 6                       cause for Hawthorne’s failure to exhaust Claims 11, 12, and
 7                       part of 14.
 8         Here, the failure of Hawthorne’s state habeas counsel to include the unexhausted
 9   claims in the state petition constituted ineffective assistance of counsel.
10                       (1)    Failure to raise unexhausted claims constitutes
11                              deficient performance.
12         Claims 11, 12, and part of 14 could have been raised in the state habeas petition,
13   and the failure of state habeas counsel to include those claims constituted deficient
14   performance. Blake, 745 F.3d at 983; Strickland v. Washington, 466 U.S. 668, 687
15   (1984).
16         Claim 11 (erroneous jury instructions), Claim 12 (failure to instruct on “on
17   continuous transaction” rule), and Claim 14 (cumulative error) are purely legal claims
18   and are fully consistent with the claims that were presented to the California Supreme
19   Court. Because they do not, and cannot, contradict or undermine the factual basis of
20   any other claim, it was not a reasonably strategic decision not to raise them. And as
21   Claim 14 is a cumulative error claim—a claim that accumulates all of the otherwise
22   inconsequential prejudice arising from various trial errors—it was even more important
23   that all available claims of trial error be presented and preserved.
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 1                      (2)    Hawthorne was prejudiced by counsel’s failure to
 2                             bring meritorious claims before the state court.
 3         As detailed below, each of these claims are potentially meritorious and state
 4   habeas counsel’s failure to present them in state court prejudiced Hawthorne. Blake,
 5   745 F.3d at 983; Strickland, 466 U.S. at 687.
 6         2.     Hawthorne’s claims are potentially meritorious.
 7         Hawthorne satisfies Rhines’s second requirement that at least one of his
 8   unexhausted claims be potentially meritorious. At the very least, it is not “‘perfectly
 9   clear that [Hawthorne] has no hope of prevailing’” on at least one of his unexhausted
10   claims. Dixon, 847 F.3d at 722 (quoting Cassett, 406 F.3d at 624). As discussed below,
11   each of Hawthorne’s claims is potentially meritorious, alleging a legal basis for relief
12   and supported by reasonably available facts.
13         “In determining whether unexhausted claims are ‘potentially meritorious,’ a
14   court does not weigh or even consider the evidence in the case.” Cueto v. McNeil, 2010
15   WL 1258065 *16 (S.D. Fla. 2010); see also Nance v. Norris, 429 F.3d 809, 810 (8th
16   Cir. 2005) (finding potential merit under Rhines where the petitioner presented an
17   affidavit that “tend[ed] to show his claims . . . may have merit.”); Warren v. Hedgpeth,
18   2008 WL 4104519 *1 (N.D. Cal., Sept. 4, 2008) (granting a Rhines stay, in part, where
19   the petitioner “provided enough facts” to allege an unexhausted claim and finding the
20   claim potentially meritorious based on the petitioner’s representations); Kuzyk v.
21   Edwards, 2008 WL 4975877, at *4 (C.D. Cal., Nov. 20, 2008) (granting a Rhines stay
22   and finding claims potentially meritorious, without any analysis of the claims’ merits,
23   where the claims “appear[ed] colorable.”).
24              a. Claim 11: Erroneous Jury Instructions
25         The Constitution requires that the prosecution prove every element of a charged
26   offense beyond a reasonable doubt. See Aprendi v. New Jersey, 530 U.S. 466 (2000);
27   United States v. Guadin, 515 U.S. 506 (1995) Sullivan v. Louisiana, 508 U.S. 275, 278-
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 1   81 (1993); Carella v. California, 491 U.S. 263, 265-66 (1989). In Hawthorne’s case,
 2   the court failed to instruct the jury as such. And the jury would not have been able to
 3   infer the “every element” requirement from the instructions that were given, as the
 4   judge told the jury that the instructions “may not seem like English” and that they
 5   would have to rely on the lawyers to “hopefully make them more logical or
 6   reasonable.” 5 RT 877-78. Hawthorne’s trial attorney, 3 despite this prompting from the
 7   court, did nothing to ensure that the jury understood that it must find “every element”
 8   beyond a reasonable doubt.
 9         b.     Claim 12: Failure to Instruct on “One Continuous Transaction” Rule
10         The prosecutor presented the jury with two separate theories of first-degree
11   murder liability: premeditated and deliberate murder, and felony-murder. In order for a
12   juror to convict based on felony-murder, “what is required is proof beyond a reasonable
13   doubt that the felony and murder were part of one continuous transaction.” People v.
14   Young, 34 Cal. 4th 1149, 1175 (Cal. 2005). As Hawthorne alleged in his federal
15   petition, the jury instruction that was given was insufficient and inadequate as it did not
16   properly inform the jury of the requirement that they find, beyond a reasonable doubt,
17   that the murder and any underlying felony were part of “one continuous transaction.”
18   Here, the killing at issue did not take place during the alleged burglary or felony but
19   later, after those crimes were completed. The particular phrasing of the jury instruction
20   is vital, and had the jury been properly instructed it would not have found Mr.
21   Hawthorne guilty under a felony-murder theory.
22         c.     Claim 13: Imposition of Higher Restitution Would Be Improper
23         Hawthorne has paid $10,000 in restitution, and had done so before his 2021
24   resentencing hearing. Even so, the 2021 abstract of judgment includes a restitution fine
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             The same trial attorney who has already been found to be constitutionally
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     ineffective at the penalty phase.
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 1   of $10,000. The abstract should be corrected to reflect that there is no restitution owed,
 2   as an increased restitution fine on resentencing would constitute a double jeopardy
 3   violation. People v. Hanson, 23 Cal. 4th 355, 363-65 (Cal. 2000).
 4         d.     Claim 14: Cumulative Error
 5         Hawthorne’s cumulative error claim, unlike the claim that was previously
 6   brought in state court, now includes the accumulated prejudice of new claims 11, 12,
 7   and 13. With those new claims included the claim of cumulative error is arguably even
 8   stronger, or more “potentially meritorious” than it was previously. See Parle v.
 9   Runnels, 505 F.3d 922, 927 (9th Cir. 2007) (noting the “combined effect of individually
10   harmless error” can violate due process). The California Supreme Court, in its May 16,
11   2018 denial of many of the claims in Hawthorne’s state habeas petition, did not specify
12   whether it was denying the claims because it found there was no error, or because of
13   insufficient prejudice. Assuming that some of these claims were denied for lack of
14   sufficient prejudice, Hawthorne’s now-complete cumulative error claim may prevail.
15         3.     Hawthorne has not engaged in dilatory tactics.
16         Hawthorne is not attempting to “delay or abuse” the habeas process, or engage in
17   “dilatory tactics.” This case is no longer a capital case, and Hawthorne desires to avoid
18   delay and is principally interested in “obtaining speedy federal relief on his claims.”
19   See Rhines, 544 U.S. at 277-78 (internal quotation marks and citation omitted). This, in
20   the view of at least three justices in Rhines, is perhaps the most important consideration
21   in weighing a petitioner’s entitlement to a stay. Indeed, Justice Souter stated in his
22   concurring opinion in Rhines—in which Justices Ginsburg and Breyer also joined—that
23   instead of conditioning the availability of a stay upon good cause, he would “wait for
24   the alarm to sound when there is some indication that a petitioner is gaming the
25   system.” Id. at 279 (Souter, J., concurring).
26         In addition, a stay of Hawthorne’s petition pending exhaustion would serve the
27   interests of judicial economy, comity, and federalism. A stay will serve judicial
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 1   economy because the state court may grant relief on one or more of Hawthorne’s
 2   claims, thus making this federal case moot. A stay will also serve the interests of
 3   comity and federalism; as allowing the state court an opportunity to correct a
 4   constitutional error minimizes federal court intrusion into and disruption of state
 5   proceedings. See O’Sullivan v. Boerckel, 526 U.S. 838, 845 (1999). The same benefits
 6   of judicial economy will inure to both parties.
 7         While his state petition is pending, Hawthorne will file status reports on the
 8   progress of the state proceedings on whatever schedule the Court deems appropriate.
 9   C.    This court has authority separate from Rhines to stay the case.
10         Regardless of the strict application of Rhines to stay the instant case, this Court
11   has independent authority to grant a stay in the interest of justice. In this case, granting
12   a stay of the federal habeas action accommodates interests considered by courts in
13   evaluating stay requests. These concerns are (1) judicial economy, (2) comity and
14   federalism, (3) the prejudice to the parties, and (4) whether the moving party seeks a
15   stay in order to delay or abuse the habeas process. Calderon v. United States District
16   Court (Taylor), 134 F.3d 981, 987-88 n. 8 (9th Cir. 1998); Fetterly v. Paskett, 997 F.2d
17   1295, 1301-02 (9th Cir. 1993).
18         In the interest of judicial economy, and to avoid piecemeal litigation, this Court
19   should stay the federal action until Hawthorne has exhausted his state court remedies. A
20   stay will serve the interests of judicial economy, whether or not the state court grants
21   relief. If the state court grants Hawthorne relief on his state habeas petition, further
22   federal proceedings on his claim are unnecessary. Alternatively, if the state court denies
23   him relief, a stay would avoid duplication of effort and proliferation of motion hearings
24   necessitated by piecemeal litigation. In either case, this Court best serves its interest in
25   judicial economy by granting this request for a stay of the federal habeas proceeding.
26   Taylor, 134 F.3d at 987-88, n. 8.
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 1         Considerations of comity and federalism also favor granting a stay. The
 2   exhaustion doctrine, requiring state prisoners to present their federal constitutional
 3   claims to the state courts before presenting them to the federal courts, promotes both
 4   comity and federalism. By allowing the state court the opportunity to correct state court
 5   errors, federal courts minimize their intrusion into and disruption of state proceedings.
 6   Nino v. Galaza, 183 F.3d 1003, 1007 (9th Cir. 1999).
 7         If this Court were to deny this stay motion, the prejudice to Hawthorne would
 8   vastly outweigh any possible prejudice to Respondent. If a stay is not entered,
 9   Hawthorne may be denied all opportunity to receive federal habeas review of his
10   unexhausted claims. Conversely, granting a stay would result in no prejudice to
11   Respondent. Indeed, both parties would benefit by avoiding unnecessary duplication of
12   effort and the proliferation of pleadings.
13         Hawthorne has brought this motion not to stall the habeas process, but rather to
14   obtain review on the merits of his federal constitutional claims by seeking to litigate
15   them in a single federal habeas petition after complying with any exhaustion
16   requirements. Fetterly, 997 F.2d at 1301-02.
17   D.    The granting of a Rhines stay will not meaningfully delay the federal
18         proceedings.
19         This case is a formerly capital case. Capital cases are notable not only because of
20   the “the seriousness of the possible penalty” but also the “unique and complex nature of
21   the litigation.” McFarland v. Scott, 512 U.S. 849, 855 (1994). Hawthorne’s
22   resentencing does not alter the fact that he was charged with a capital crime, underwent
23   a capital trial, and retains a special circumstance that made him eligible for the death
24   penalty, all of which tee up particular legal issues and claims for relief that pertain to
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 1   capital cases alone. As in all death-penalty cases, the trial, appellate and state habeas
 2   record is voluminous. 4
 3         Petitioner’s counsel’s office has been in contact with state habeas counsel
 4   HCRC, and has received 40 boxes of material, as well as the accompanying digital
 5   files. (M. Petersen Decl., ¶ 3.) While significant time has already been invested in
 6   organizing and processing this material, there is still significant work to be done.
 7   Adequate representation of Hawthorne will necessarily entail a thorough review of
 8   these records. Until that review is complete, counsel will not be in a position to
 9   determine what records need to be lodged with this Court as part of the federal
10   proceeding. (M. Petersen Decl., ¶ 4.)
11         That review process is going to take time, and it will continue during the Rhines
12   stay and subsequent state court proceedings. The granting of a Rhines stay will not
13   significantly delay these federal court proceedings, as this case is still at its earliest
14   stages.
15   E.    Hawthorne seeks reasonable time limits, and will file his exhaustion
16         petition within 60 days of the granting of a stay.
17         Even when a stay is appropriate under Rhines, district courts are advised to
18   “place reasonable time limits on a petitioner’s trip to state court and back.” Rhines, 544
19   U.S. at 278 (citing with approval Zarvela v. Artuz, 254 F.3d 374, 381 (2nd Cir. 2001)
20   (requiring the petitioner to return to federal court thirty days after exhaustion is
21   complete.). Here, Hawthorne requests a stay with the condition that he file his
22   exhaustion petition within 60 days of this Court’s order staying the case. Hawthorne
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              This case presents particular challenges as a formerly-capital case. Local Rule
     83-17.7, which applies only to death penalty cases, requires the Attorney General to
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     lodge the entire state court record. In contrast, the noncapital habeas rules only require
26   that the Attorney General lodge portions of the record. See Rule 5 Governing Section
     2254 Cases. Counsel for Petitioner has begun to acquire the state-court record, but
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     ensuring a complete record will take additional time.
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 1   will apprise this Court of the status of the exhaustion proceeding through the filing of
 2   status reports, or through whatever method this Court deems appropriate. Hawthorne
 3   will notify the Court immediately upon the conclusion of state proceedings. If relief is
 4   denied, Hawthorne will file an amended petition within 60 days of the state court order
 5   denying relief.
 6   F.    Should this Court deny Hawthorne’s request for a Rhines stay, he
 7         requests that the exhausted claims in his federal habeas petition be
 8         allowed to proceed.
 9         In the event that this Court denies the Rhines stay motion, Hawthorne requests
10   that Claims 11, 12, and 13 be dismissed, and that the small portion of the cumulative
11   error claim asserted in Claim 14 that makes reference to Claims 11, 12, and 13 also be
12   dismissed. Hawthorne would like to proceed with the remaining, exhausted, claims.
13   Kelly v. Small, 315 F.3d 1063, 1070-71 (9th. Cir. 2003).
14                                     IV. CONCLUSION
15         Because good cause exists for Hawthorne’s prior failure to exhaust these claims;
16   his claims are not plainly meritless; he has not engaged in intentionally dilatory tactics;
17   and a stay would serve the interests of judicial economy, comity, and federalism, this
18   Court should issue a stay pursuant to Rhines. Accordingly, Hawthorne asks this Court
19   to enter an order: 1) denying Respondent’s Motion to Dismiss, and 2) staying the
20   federal petition to allow exhaustion of state remedies.
21                                           Respectfully submitted,
22                                           CUAUHTEMOC ORTEGA
                                             Federal Public Defender
23
24   DATED: June 12, 2023                By /s/ Michael Petersen
25                                         MICHAEL PETERSEN
                                           LAUREN COLLINS
26                                         Deputy Federal Public Defenders

27                                           Attorneys for Petitioner
                                             CARLOS ANTHONY HAWTHORNE
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 1                       DECLARATION OF MICHAEL PETERSEN
 2         I, Michael Petersen, hereby declare and state as follows:
 3         1.      I am a Deputy Federal Public Defender and I represent Petitioner Carlos
 4   Anthony Hawthorne in the above-titled action. The Office of the Federal Public
 5   Defender was appointed on January 10, 2023, and I entered my Notice of Appearance
 6   in this case on February 10, 2023. (Dtks. 9 and 15).
 7         2.      On June 5, 2023 I emailed Ana Duarte, counsel for Respondent, and
 8   informed her that Petitioner would be filing a motion requesting a Rhines stay so that
 9   Petitioner could return to state court to present those unexhausted claims identified in
10   Respondent’s Motion to Dismiss. Ms. Duarte responded that same day and stated that
11   while Respondent could not definitively state whether Respondent would file an
12   opposition, her office often opposes such motions.
13         3.      Our office has been in contact with state habeas counsel, the Habeas
14   Corpus Resource Center, and has received 40 boxes of material, as well as the
15   accompanying digital files. While significant time has already been invested in
16   organizing and processing this material, there is still significant work to be done.
17         4.      Adequate representation of Hawthorne will necessarily entail a thorough
18   review of these records. Until that review is complete, counsel will not be in a position
19   to determine what records need to be lodged with this Court as part of the federal
20   proceeding.
21
22   I declare under penalty of perjury that the foregoing is true and correct to the best of my
23   knowledge.
24         Executed on June 12, 2023 at Los Angeles, California.
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26                                           /s/ Michael Petersen
                                             MICHAEL PETERSEN
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 1                           CERTIFICATE OF COMPLIANCE
 2
           The undersigned, counsel of record for Carlos Hawthorne, certifies that this brief
 3
     contains 5,087 words and does not exceed 25 pages, which complies with the word
 4
     limit of L.R. 11-6.1.
 5
 6
 7   DATED: June 12, 2023                  By /s/ Michael Petersen
                                           MICHAEL PETERSEN
 8                                         Deputy Federal Public Defender
 9                                         Attorney for CARLOS HAWTHRONE

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